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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 LEILA GREEN LITTLE, et al.,                     §
                Plaintiffs,                      §
 v.                                              §
                                                 §           1:22-CV-424-RP
 LLANO COUNTY, et al.,                           §
                Defendants.                      §

                             ORDER SETTING HEARING AND
                                SANCTIONS WARNING

       The court previously set several motions (Dkts. #92, #114, #123, #124 & #127) for hearing.

The court now SETS Plaintiffs’ Opposed Motion to Compel and for Sanctions (Dkt. #135) for the

in-person hearing on Thursday, April 27, 2023, at 10:00 a.m. Defendant Amber Milum is

ORDERED to be physically present in the courtroom on the day of the hearing.

       The court takes Plaintiffs’ additional request for sanctions UNDER ADVISEMENT and

reiterates the SANCTIONS WARNING contained in its previous order (Dkt. #140). Should

Defendant Amber Milum fail to physically appear at the hearing, she will be violation of this

court’s Order and may be subject to sanctions.

       The court FURTHER ORDERS the parties to participate in a meet and confer to attempt

to resolve this motion (Dkt. #135) along with the other motions (Dkts. #92, #114, #123, #124 &

#127) without court intervention and to file a joint notice no later than noon Tuesday, April 25,

2023, identifying the issues that have been resolved and the remaining outstanding issues.



        SIGNED April 13, 2023.

                                                      _______________________________
                                                      MARK LANE
                                                      UNITED STATES MAGISTRATE JUDGE




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